Case 2:12-md-02387 Document 2480 Filed 04/30/19 Page 1 of 5 PageID #: 17353




                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION

   IN RE: COLOPLAST CORP.
   PELVIC SUPPORT SYSTEMS                                Master File No. 2:12-MD-02387
   PRODUCTS LIABILITY LITIGATION                                 MDL No. 2387

   THIS DOCUMENT RELATES TO:
                                                               JOSEPH R. GOODWIN
   ALL COLOPLAST WAVE 5, 6 AND 7                               U.S. DISTRICT JUDGE
   CASES


  SECOND AMENDED NOTICE OF DEPOSITION OF BRUCE ROSENZWEIG, M.D.

           PLEASE TAKE NOTICE that Defendant Coloplast Corp. (“Coloplast”), by and

  through undersigned counsel, will take the deposition of Bruce Rosenzweig, MD, on

  Thursday, May 2, 2019, commencing at 8:00 a.m. (CDT), at the law offices of King &

  Spalding LLP, 444 W. Lake Street, Suite 1650, Chicago, IL 60606, before a Notary Public or

  some other officer authorized by law to administer oaths in the State of Illinois and shall

  continue from day to day until completed. The deposition will be recorded stenographically

  by Golkow Technologies, 1650 Market Street, Suite 5150, Philadelphia, Pennsylvania 19103,

  and is to be taken pursuant to the Federal Rules of Civil Procedure, the procedures set forth

  in MDL 2387, In Re: Coloplast Corp. Pelvic Support Systems Products Liability Litigation,

  and other applicable laws, and is for all lawful purposes.


           Please take further notice that pursuant to Rules 30 and 34 of the Federal Rules of

  Civil Procedure, deponent is requested to produce at his deposition any document reviewed

  prior to the commencement of the deposition to prepare for the deposition and/or to refresh

  the deponent’s recollection regarding the facts of this case, as well as the documents and

  other tangible items requested in the attached Exhibit A.
Case 2:12-md-02387 Document 2480 Filed 04/30/19 Page 2 of 5 PageID #: 17354




  Dated: April 30, 2019             Respectfully submitted,


                                    /s/ Lana K. Varney
                                    Lana K. Varney
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                                    Attorneys for Defendant Coloplast Corp.
Case 2:12-md-02387 Document 2480 Filed 04/30/19 Page 3 of 5 PageID #: 17355




                              CERTIFICATE OF SERVICE

       I hereby certify that on April 30, 2019, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service in this MDL.



                                            /s/ Lana K. Varney
                                            Lana K. Varney
Case 2:12-md-02387 Document 2480 Filed 04/30/19 Page 4 of 5 PageID #: 17356




                                         EXHIBIT A

      Coloplast hereby requests that Bruce Rosenzweig, MD produce at his deposition the
documents and tangible items listed below:

                                        DEFINITIONS

       1.     “Document” means every written, recorded, or graphic material of any kind and
              description, whether prepared by you or any other person, including but not
              limited to correspondence, memoranda, tapes, stenographic or handwritten notes,
              studies, publications, writings, graphs, charts, books, pamphlets, pictures,
              drawings or photographs, films, microfilms, voice recordings, maps, reports,
              surveys, minutes, or statistical compilations, other data compilations from which
              information can be obtained (translated, if necessary, by you into reasonably
              usable form), and any other material or information within the scope of the
              request. Every draft or non-identical copy of a document is a separate document
              as defined herein.

       2.     “You,” “your,” and “yourself” refers to Bruce Rosenzweig, MD and anyone
              acting on his behalf.

                               DOCUMENTS REQUESTED

       1.      A copy of the witness’s current resume or Curriculum Vitae.

       2.      A list of publications authored by you in the previous 10 years, if not included
               on your Curriculum Vitae.

       3.      A list of cases in which you have testified as an expert during the past four
               years, either at trial or in deposition, if not included on your Curriculum Vitae.

       4.     A complete copy of your file on this case, including, but not limited to, all
              published and unpublished literature, documents, and data considered by you in
              formulating any opinions offered in this case.

       5.     All correspondence or other written communications in any form between you
              and Plaintiffs or their attorneys, to the extent that such communications:

                     a.      Relate to your compensation;

                     b.      Identify facts or data that you were provided and that you
                             considered in forming your opinions; or

                     c.      Identify assumptions that Plaintiffs’ counsel provided you and
                             that you relied on in forming your opinions.
Case 2:12-md-02387 Document 2480 Filed 04/30/19 Page 5 of 5 PageID #: 17357




      6.    Any and all documents, including but not limited to billing statements, billing
            records, employee records, time sheets, and/or invoices, that reflect the amount
            of time spent or amount of compensation received for any of your work relating
            to female pelvic mesh litigation, including any retainer that you have requested
            or been paid.

      7.    All final reports and/or writings that you have prepared concerning this case.
